


 



THE STATE OF SOUTH CAROLINA
In The Court of Appeals

  
    
      
The State,&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Respondent,
      
    
  

v.

  
    
      
Derrick Deas,&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Appellant.
      
    
  


Appeal From York County
John C. Hayes, III, Circuit Court Judge

Unpublished Opinion No. 2003-UP-765
Submitted October 15, 2003  Filed December 
  31, 2003

APPEAL DISMISSED


  
    
      
Senior Assistant Appellate Defender Wanda H. Haile, of Columbia, 
  for Appellant. 
Deputy Director for Legal Services Teresa A. Knox, Legal Counsel 
  Tommy Evans, Jr. and Legal Counsel J. Benjamin Aplin, all of Columbia, for Respondent.
      
    
  

PER CURIAM:&nbsp; Derrick Deas appeals the revocation 
  of his probation.&nbsp; Counsel for Deas attached to the final brief a petition to 
  be relieved as counsel.&nbsp; Deas did not file a separate pro se response.&nbsp; 
After a review of the record as required 
  by Anders v. California, 386 U.S. 738 (1967), and State v. Williams, 
  305 S.C. 116, 406 S.E.2d 357 (1991), we hold there are no directly appealable 
  issues that are arguable on their merits.&nbsp; Accordingly, we dismiss the appeal 
  and grant counsels petition to be relieved.
 APPEAL DISMISSED.
HUFF, STILWELL, and BEATTY, JJ., concur.

